On Petition for Rehearing.
It is possible that my position on one point here involved should be elucidated.
The whole people, by their Constitution, say to their legislature, You shall not impose taxes for county purposes. That is definite and final. What are county purposes? The Constitution does not say, and does not forbid the legislature to say. Hence the legislature, within all reasonable limits (of course it can not, by mere fiat, make black white), has that power. It has exercised it. An examination of its acts from territorial days discloses that it has always said that the purpose for which this statute imposes taxes (i. e. poor relief) is a county purpose. Has it now changed that declaration? On the contrary it herein reaffirms it. This act fixes the duty, imposed by it, upon the county. It limits the funds for the discharge of that duty to collections in the county. It directs the deposit of those funds in the "County Emergency Relief Fund." It directs their expenditure by the "Board of County Commissioners." It provides for no assistance to any county from without. It is therefore a legislative declaration that a function to be discharged under it is a county function and that the tax imposed by it is for county purposes. *Page 435 
On Petition for Rehearing.